       Case 2:23-cv-01049-JWH-KES Document 148 Filed 12/18/23 Page 1 of 4 Page ID #:5774
Name and address:
                 Christina N. Goodrich (SBN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, 8th Floor
                    Los Angeles, California 90067

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC
                                                         Plaintiff(s),                           2:23-cv-01049-JWH-KES

                  v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
COX COMMUNICATIONS, INC., et al.                                                     TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                         PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Kantarek, Kyle M.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
K&L Gates LLP
Firm/Agency Name
70 W. Madison Street, Suite 3100                                         (312) 807-4206                         (312) 345-9968
                                                                         Telephone Number                       Fax Number
Street Address
Chicago, IL 60602                                                                             kyle.kantarek@klgates.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                             Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
Supreme Court of Illinois                                   11/5/2015                Yes
U.S. District Court, N.D. Ill.                              6/13/2017                Yes
(continued in Section IV)

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of 3
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 List all cases in which the applicant has applied to this Court for pro hac vice
                                                                                  status in the previous three years (conti~ue in Section IV if
 needed):
                                                                                                                            :
         Case Number                                    Title o[Action                              Date o[Application     \ Granted I Denied?
                                                                                                                           I




 If any pro hac vice applications submitte d within the past three (3) years have been
                                                                                         denied by the Court, please explai1:




Attorne ys must be registered for the Court's electronic filing system to practice
                                                                                     pro hac vice in this dourt. Submiss ion
of this Applica tion will constitu te your registration (or re-registration) to
                                                                                use that system. If the Co~rt signs an Order
grantin g your Applica tion, visit www.pacer.gov to complete the registra
                                                                                   tion process and actiyate your e-filing
privileges in the Central District of California.

               SECTION II - CERTI FICAT ION

           I declare under penalty of perjury that:

           ( 1) All of the above informa tion is true and correct.
                                                                                                                i
           (2) I am not a resident of the State of California. I am not regularly
                                                                                     employ ed in, or enga~ed in
               substan tial business, professional, or other activities in the State of Californ
                                                                                                 ia.            \
           (3) I am not currentl y suspend ed from and have never been disbarre d from
                                                                                              practice in any court.
           (4) I am familiar with the Court's Local Civil and Crimina l Rules, the Federal
                                                                                               Rules of Civ~l and
               Crimina l Procedu re, and the Federal Rules of Evidence.
                                                                                                                ;
           (5) I designate the attorney listed in Section III below, who is a membe r in
                                                                                             good standin g pf the Bar
               of this Court and maintai ns an office in the Central District of California for
                                                                                                   the practi~e oflaw, in
               which the attorney is physically present on a regular basis to conduc t business
                                                                                                     , as local jcounsel
               pursuan t to Local Rule 83-2.1.3.4.
                                                                                                                I
                Dated December 18, 2023                                  Kyle M. Kantarek
                                                                                                                 /




G-64 (09/20)               APPLICAT ION OF NON-RESI DENT ATTORNEY TO APPEAR IN A SPECIFIC
                                                                                                   CASE PRO HAC VICE                   Page 2 of3
       Case 2:23-cv-01049-JWH-KES Document 148 Filed 12/18/23 Page 3 of 4 Page ID #:5776

SECTION III - DESIGNATION OF LOCAL COUNSEL
Goodrich, Christina N.
Designee's Name (Last Name, First Name & Middle Initial)
K&L Gates LLP
Firm/Agency Name
10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                           (310) 552-5001
                                                                  Telephone Number                         Fax Number
Street Address                                                    christina.goodrich@klgates.com
Los Angeles, CA 90067                                             Email Address
City, State, Zip Code                                             261722
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated December 18, 2023                            Christina N. Goodrich
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  U.S. Court of Appeals, Federal Circuit - Admitted 1/24/2019 - Active Member in Good Standing
  U.S. District Court, E.D. Mich. - Admitted 4/6/2021 - Active Member in Good Standing




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of 3
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                                 Attorney Registration and Disciplinary Commission
                                                        of the
                                             Supreme Court of Illinois
                                                   www.iardc.org



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                                                                                           Fax(217) 522-2417
       f a:< (312) 565-2320




                                                         Chicago
                                                         12/ 18/2023

                                                         Re: Kyle Michael Kantarek
                                                             Attorney No. 6320889



      To Whom It May Concern:

         The records of the Clerk of the Supreme Court of Illinois and this office reflect that Kyle
      Michael Kantarek was admitted to practice law in Illinois on 11/5/2015; is currently
      registered on the master roll of attorneys entitled to practice law in this state; has never been
      disciplined and is in good standing.




                                                         Very truly yours,
                                                         Lea S. Gutierrez
                                                         Arlmini~trntor




                                                             Andrew Oliva
                                                             Registrar
